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                                EXHIBIT 3
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                                                                               Page 1
·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · · · · UNITED STATES DISTRICT COURT
·3· · · · · · · SOUTHERN DISTRICT OF FLORIDA
·4· · · · · · · · · · · MIAMI DIVISION
·5· ·-----------------------------
·6· ·OMAR SANTOS AND AMANDA CLEMENTS on
·7· ·behalf of themselves and all
·8· ·others similarly situated,
·9· · · · · · · · · · · Plaintiffs
10
11· ·-against-· · · · · · · · · · ·Case No.
12· · · · · · · · · · · · · · · · ·1:19-cv-23084-KMW
13· ·HEALTHCARE REVENUE RECOVERY,
14· ·GROUP, LLC D/B/A ARS ACCOUNT
15· ·RESOLUTION SERVICES AND EXPERIAN
16· ·INFORMATION SOLUTIONS, INC.,
17· · · · · · · · · · · Defendants.
18· ·------------------------------
19· · · · VIDEOTAPED REMOTE DEPOSITION OF
20· · · · · · · · KIMBERLY CAVE
21· · · · · · · · July 22, 2020
22· · · · · · · ***CONFIDENTIAL***
23
24· ·Reported by:· Susan S. Klinger, RMR-CRR, CSR
25· ·Job No. 181822


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                                                                               Page 2
·1· · · · · · · · · · CAVE - 7/22/20
·2
·3
·4· · · · · · · · · · · July 22, 2020
·5· · · · · · · · · · · 10:06 a.m.
·6
·7
·8
·9· · · · Videotaped Deposition of KIMBERLY CAVE,
10· ·held before Susan S. Klinger, a Registered
11· ·Merit Reporter and Certified Realtime Reporter
12· ·of the State of Texas.
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                                                                               Page 3
·1· · · · · · · · · · CAVE - 7/22/20
·2· ·A P P E A R A N C E S:
·3· ·(All appearance via teleconference.)
·4· ·Attorneys for Plaintiff(s):
·5· · · · Roland Tellis, Esq.
·6· · · · Jonas Mann, Esq.
·7· · · · BARON & BUDD
·8· · · · 15910 Ventura Boulevard
·9· · · · Encino, California· 91436
10
11
12
13· · · · Jonathan Raburn, Esq.
14· · · · MCCARTY & RABURN
15· · · · 2931 Ridge Road
16· · · · Rockwall, Texas· 75032
17
18· ·Attorneys for Defendant Experian Information
19· ·Solutions, Inc.:
20· · · · William Taylor, Esq.
21· · · · JONES DAY
22· · · · 717 Texas
23· · · · Houston, Texas 77002
24
25


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·Attorneys for Defendant Healthcare Revenue
·3· ·Recovery Group, LLC:
·4· · · · Ernest Kohlmyer, Esq.
·5· · · · Mary Grace Dyleski, Esq.
·6· · · · SHEPARD, SMITH, KOHLMYER & HAND
·7· · · · 230 Maitland Center Parkway
·8· · · · Maitland, Florida· 32751
·9
10
11· ·Also Present:
12· · · · Matthew Chin-Quee, videographer
13
14
15
16
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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · · · · · · · · I N D E X
·3
·4· ·WITNESS· · · · · · · · · · · · · · · · · · PAGE
·5· ·KIMBERLY CAVE
·6· ·EXAMINATION BY MR. TELLIS· · · · · · · · · · ·8
·7
·8· · · · · · · · · E X H I B I T S
·9· ·No.· · · · Description· · · · · · · · · · ·Page
10· ·Exhibit 1· Third Amended 30(b)(6) notice· · ·19
11· ·Exhibit 8· Answers to Interrogatories,· · · ·72
12· · · · · · · 1, 4 and 5
13· ·Exhibit 10 Answers to Interrogatories· · · · 23
14· ·Exhibit 12 Santos credit report,· · · · · · ·86
15· · · · · · · SANTOS-EXP 000190
16· ·Exhibit 30 Org chart, SANTOS EXP 002901· · · 10
17
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19
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·1· · · · · · · ·CAVE - 7/22/20
·2· · · · ·P R O C E E D I N G S
·3· · · · ·VIDEOGRAPHER:· Good morning.· My
·4· ·name is Matthew Chin-Quee.· I'm the legal
·5· ·videographer in association with TSG
·6· ·Reporting.· Due to the COVID-19 and
·7· ·following social distancing, I will not be
·8· ·in the same room with the witness, instead
·9· ·I will record the deposition remotely.· The
10· ·reporter, Susan Klinger, also will not be
11· ·in the same room and will swear the witness
12· ·remotely.
13· · · · ·Do all parties stipulate to the
14· ·validity of the video recording and remote
15· ·swearing and that it will be admissible in
16· ·the courtroom as if it had been taken
17· ·following Rule 30 of the Federal Rules of
18· ·Civil Procedure and the state's rules where
19· ·the case is pending?
20· · · · ·MR. TELLIS:· Yes, on behalf of the
21· ·plaintiffs.
22· · · · ·MR. TAYLOR:· Yes, on behalf of
23· ·Experian.
24· · · · ·MR. KOHLMYER:· Yes, on behalf of the
25· ·defendant ARS.


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·1· · · · · · · ·CAVE - 7/22/20
·2· · · · ·VIDEOGRAPHER:· This will be the
·3· ·start of tape number 1 of the videotaped
·4· ·deposition of Kimberly Cave --
·5· · · · ·THE WITNESS:· That's correct.
·6· · · · ·VIDEOGRAPHER:· -- in the matter of
·7· ·Omar Santos, et al v. Healthcare Revenue
·8· ·Recovery Group, LLC, et al in the United
·9· ·States District Court, Southern District of
10· ·Florida, Miami Division, Number
11· ·1:19-CV-23084-KMW.· All parties have agreed
12· ·to appear remotely on July 22nd, 2020 at
13· ·approximately 10:08 a.m.
14· · · · ·My name is Matthew Chin-Quee from
15· ·TSG Reporting and I'm the legal video
16· ·specialist.· The court reporter is Susan
17· ·Klinger in association with TSG Reporting.
18· ·Will counsel please introduce yourself?
19· · · · ·MR. TELLIS:· Good morning, Roland
20· ·Tellis and Jonas Mann of Baron & Budd on
21· ·behalf of plaintiffs.
22· · · · ·MR. TAYLOR:· Will Taylor with Jones
23· ·Day on behalf of Experian Information
24· ·Solutions, Inc.
25· · · · ·MR. KOHLMYER:· Skip Kohlmyer with


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · Shepard Smith Kohlmyer & Hand on behalf of
·3· · · · HRRG.
·4· · · · · · · MR. MANN:· Jonas Mann from Baron &
·5· · · · Budd also on behalf of plaintiff.
·6· · · · · · · MR. RABURN:· Jonathan Raburn on
·7· · · · behalf of plaintiff from McCarty & Raburn.
·8· · · · · · · VIDEOGRAPHER:· Will the court
·9· · · · reporter please swear in the witness?
10· · · · · · · KIMBERLY CAVE,
11· ·having been first duly sworn testified as
12· ·follows:
13· · · · · · · EXAMINATION
14· ·BY MR. TELLIS:
15· · · · Q.· · Good morning, Ms. Cave.· I just
16· ·introduced myself.· My name is Roland Tellis.
17· ·I'm here to take your deposition.
18· · · · · · · Do you understand?
19· · · · A.· · Yes.
20· · · · Q.· · You have been deposed many times; is
21· ·that correct?
22· · · · A.· · Yes.
23· · · · Q.· · Are you generally familiar with the
24· ·ground rules of a deposition or would you like
25· ·me to go over them?


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · A.· · I don't need you to go over them.
·3· · · · Q.· · Okay.· You understand you are
·4· ·testifying under oath though; is that correct?
·5· · · · A.· · That's correct.
·6· · · · Q.· · At any time you need a break, just
·7· ·let me know and I will do my best to
·8· ·accommodate you unless there is a question
·9· ·pending.
10· · · · · · · Are you currently employed?
11· · · · A.· · I am.
12· · · · Q.· · Who is your employer?
13· · · · A.· · Experian Information Solutions, Inc.
14· · · · Q.· · And I will refer to that entity as
15· ·Experian today; is that okay?
16· · · · A.· · Yes.
17· · · · Q.· · What is your job title?
18· · · · A.· · I'm a compliance and litigation
19· ·analyst.
20· · · · Q.· · And can you generally summarize what
21· ·your job duties are as a compliance and
22· ·litigation analyst?
23· · · · A.· · I review Experian policies and
24· ·procedures as they pertain to its credit
25· ·reporting activities for adherence to its


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·internal compliance rules and procedures, and I
·3· ·also assist with litigation research.
·4· · · · Q.· · Are you a lawyer?
·5· · · · A.· · No.
·6· · · · Q.· · Do you perform your duties within a
·7· ·particular department at Experian?
·8· · · · A.· · Yes.
·9· · · · Q.· · What is that department called?
10· · · · A.· · I technically sit within regulatory
11· ·compliance.
12· · · · Q.· · How long have you held your current
13· ·title?
14· · · · A.· · I believe since around February of
15· ·2011.
16· · · · Q.· · And since that time, have your job
17· ·duties been the same as you have described
18· ·them?
19· · · · A.· · Yes.
20· · · · Q.· · Let me show you a document I will
21· ·mark as Exhibit 30.
22· · · · · · · (Exhibit 30 marked.)
23· · · · · · · MR. TELLIS:· Madam court reporter,
24· · · · I'm going to be jumping around today.· I'm
25· · · · not going to be going in chronological


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                                                                            Page 11
·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · order.
·3· · · · Q.· · Let me see if I do this correctly.
·4· ·I've marked as Exhibit 30 and displayed on the
·5· ·screen a two-page organization chart produced
·6· ·by Experian Bates numbers 2901 through 2902.                  I
·7· ·believe I have clicked your name on this
·8· ·platform so you should be able to scroll
·9· ·through this document if you need to, but I
10· ·would like you to focus on page 2902 where your
11· ·name appears in a box.· Are you there?
12· · · · A.· · I can't see any document on the
13· ·screen and I don't know if counsel may be aware
14· ·but I'm working from a very small laptop
15· ·screen.· I'm not going to be able to see them,
16· ·but I do have the paper exhibits that you
17· ·provided so I can look at those.
18· · · · Q.· · That is fine.· Great.· I'm
19· ·displaying them for the benefit of everyone
20· ·else.· As long as you are following along with
21· ·the hard copies that is great.
22· · · · · · · Can you look at the document that
23· ·has Bates number -- do you know what a Bates
24· ·number is; correct?
25· · · · A.· · That's correct.


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · Q.· · 2902, do you see the one that has
·3· ·your name in the upper right-hand corner?
·4· · · · A.· · I do.
·5· · · · Q.· · Does this org chart accurately
·6· ·reflect your title within the company as
·7· ·described as a compliance and litigation
·8· ·analyst?
·9· · · · A.· · So far that I'm aware it does.
10· · · · Q.· · Does this document reflect a
11· ·particular department organization or what does
12· ·it -- what is it depicting here?
13· · · · A.· · Well, I mean the document speaks for
14· ·itself.· I had not seen this document before it
15· ·was provided in this litigation.· So beyond
16· ·what it says, I have no basis for explaining
17· ·how it was put together by whoever put it out.
18· · · · Q.· · I didn't ask you that.· The document
19· ·doesn't speak for itself.· Where is it
20· ·speaking, what is it saying?
21· · · · · · · MR. TAYLOR:· Object to the form of
22· · · · the question.
23· · · · A.· · Where would you like me to read from
24· ·the document?
25· · · · Q.· · I'm asking you what this


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·organizational chart is intending to depict.
·3· ·Is it a particular department within Experian
·4· ·or something else?· It is an organization chart
·5· ·of some sort with your name on it; correct?
·6· · · · A.· · It appears to be, yes.· But again, I
·7· ·have not seen this document before it was
·8· ·provided to me for this deposition.
·9· · · · Q.· · It is not important that you have
10· ·seen it before.· I'm asking as you look at it,
11· ·can you tell whether it is depicting the
12· ·organizational structure of your regulatory
13· ·compliance department, for example?
14· · · · A.· · I can't tell you that.· It depicts
15· ·the level and persons, to me, who report under
16· ·certain people.· And it has me appropriately
17· ·listed under Sandy Anderson, which is the
18· ·person I report to and work for.· Beyond that,
19· ·I have no basis for answering that question.
20· · · · Q.· · Okay.· So your direct report is
21· ·Sandy Anderson; is that correct?
22· · · · A.· · That's correct.
23· · · · Q.· · And is that a male or a female?
24· · · · A.· · A female.
25· · · · Q.· · Is Ms. Anderson also within the


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·regulatory compliance department?
·3· · · · A.· · I don't know.
·4· · · · Q.· · Do you know -- do you recognize
·5· ·anyone on this chart, Exhibit 30, Bates number
·6· ·2902 that reports directly to you?
·7· · · · A.· · I don't have any direct reports.
·8· · · · Q.· · Okay.· Does anyone assist you in
·9· ·your job duties?
10· · · · A.· · Do they assist me, no.
11· · · · Q.· · Where do you perform your job
12· ·duties, in Allen, Texas?
13· · · · A.· · Well, currently from my home, but
14· ·normally in Allen, Texas.
15· · · · Q.· · And where is Ms. Anderson located?
16· · · · A.· · She is not in Allen, Texas.
17· · · · Q.· · That wasn't my question.· Where is
18· ·she located?
19· · · · A.· · I don't know specifically where she
20· ·is located.
21· · · · Q.· · Where are her offices when she
22· ·reports to work generally?
23· · · · A.· · I don't know.
24· · · · Q.· · How do you communicate with her
25· ·typically, by email, telephone or in-person?


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · A.· · Email and telephone.
·3· · · · Q.· · Which department within Experian, to
·4· ·your knowledge, is responsible for
·5· ·investigating consumer disputes over the
·6· ·accuracy of credit account information?
·7· · · · A.· · That would be the --
·8· · · · · · · MR. TAYLOR:· Objection.
·9· · · · A.· · -- MCE or the My Consumer Experian
10· ·Center.
11· · · · Q.· · That department is referred to as
12· ·the My Consumer Experian Center, is that what
13· ·you said?
14· · · · A.· · Yes, we refer to it as the MCE.
15· · · · Q.· · Where is the MCE typically located,
16· ·which office?
17· · · · A.· · The Allen, Texas office and there
18· ·are also associates in the Santiago, Chili
19· ·facility.
20· · · · Q.· · And who is the head of that group?
21· · · · A.· · What do you mean by the head of the
22· ·group?
23· · · · Q.· · Well, does that group have a
24· ·department head or a person in charge?
25· · · · A.· · Well, there are lots of managers and


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·VPs and head of that organization.· I didn't
·3· ·come here today prepared to breakdown the
·4· ·structure of the MCE.
·5· · · · Q.· · Do you know any of the heads of that
·6· ·organization by name?
·7· · · · A.· · I know a few people that I work
·8· ·with, but I don't know specifically what their
·9· ·hierarchy is over there.
10· · · · Q.· · Give me their names, please.
11· · · · A.· · I currently interact with Casey, I
12· ·believe her last name is Fellows.
13· · · · Q.· · And anyone else within that
14· ·department that you interact with?
15· · · · A.· · I mean, I have worked here for, you
16· ·know, 23 years.· I interact with a lot of
17· ·people, but I don't -- I don't really want to
18· ·sit here and tell you all the people I talk
19· ·with every day, so can you be more specific in
20· ·what people you are looking for?
21· · · · Q.· · I'm looking to understand who you
22· ·interface with in that department with respect
23· ·to consumer disputes over the accuracy of
24· ·credit account information.· Give me the names
25· ·of people you generally interact with with


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·respect to that topic?
·3· · · · A.· · Well, it just depends on what I'm
·4· ·researching and what I'm looking for.· So do I
·5· ·have questions about policies and procedures, I
·6· ·mean that is a very vague question.
·7· · · · Q.· · I understand that.· Give me the
·8· ·names of people, don't worry about for what
·9· ·purpose I need them, give me the names of
10· ·people you generally interact with in that
11· ·department on the topic of disputes over the
12· ·accuracy of credit account information?
13· · · · A.· · Eldridge Moore, Joshua Jones.
14· · · · Q.· · Any others come to mind?
15· · · · A.· · Primarily that is -- that is it.
16· · · · Q.· · You typically interact with folks in
17· ·that department by email?
18· · · · A.· · No, I interact with them in a myriad
19· ·of ways.
20· · · · Q.· · Which includes email?
21· · · · A.· · Yes.
22· · · · Q.· · And what is the nature of -- well,
23· ·does that department prepare any sorts of
24· ·reports for you on a periodic basis?
25· · · · A.· · No.


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · · · · MR. TAYLOR:· Object to form.
·3· · · · Q.· · You see on this chart, Ms. Cave, at
·4· ·the bottom of your box it says, U.S., Allen,
·5· ·Texas and then, paren, 701.· Do you see that?
·6· · · · A.· · Yes.
·7· · · · Q.· · Do you know what 701 is referring
·8· ·to?
·9· · · · A.· · Well, the only 701 I'm familiar with
10· ·is we have building 701, so perhaps that is
11· ·what it is referring to.
12· · · · Q.· · You understand, Ms. Cave, that you
13· ·have been designated by Experian to testify in
14· ·this case with respect to certain deposition
15· ·topics?
16· · · · A.· · That's correct.
17· · · · Q.· · Let me mark for the record as
18· ·Exhibit 2 a document entitled Plaintiff's Third
19· ·Amended Notice of Deposition of Kimberly Cave
20· ·under Rule 30 of the Federal Rules of Civil
21· ·Procedure.· Do you see that?
22· · · · A.· · Yes.
23· · · · Q.· · Actually this one appears to be the
24· ·wrong exhibit, hang on a second.· Can you
25· ·strike that exhibit.


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · · · · I've put up on the screen now what
·3· ·is Exhibit 1, which is a document titled
·4· ·Plaintiff's Third Amended Notice of Deposition
·5· ·of Experian Information Solutions under Rule
·6· ·30(b)(6) of the Federal Rules of Civil
·7· ·Procedure.· Do you see that document?
·8· · · · · · · (Exhibit 1 marked.)
·9· · · · Q.· · It might be listed as Exhibit 2
10· ·under your -- your binder as it is in mine, but
11· ·this is the document I'm trying to get your
12· ·attention drawn to.
13· · · · A.· · I don't see anything on the screen,
14· ·but I do have two Third Amended notices,
15· ·Exhibit 1 which feels a little thicker and
16· ·Exhibit 2 which is a little thinner.
17· · · · Q.· · If you look on the caption the first
18· ·page and find the one that says, Notice of
19· ·Deposition of Experian, please?
20· · · · A.· · Okay.
21· · · · Q.· · And you see that on page 3 through 9
22· ·there are certain topics identified, enumerated
23· ·paragraphs.· Do you see those?
24· · · · A.· · Yes.
25· · · · Q.· · Do you know which of those topics


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·you are designated to testify on Experian's
·3· ·behalf?
·4· · · · A.· · I mean, I can't sit here and recite
·5· ·them to you, but it is my understanding that
·6· ·Experian provided a list of those topics with
·7· ·objections.
·8· · · · Q.· · Are you prepared to testify
·9· ·regarding the topics that Experian has
10· ·identified you on?
11· · · · A.· · My understanding of those topics,
12· ·yes.
13· · · · Q.· · Aside from speaking with your
14· ·lawyers, what did you do to prepare for today's
15· ·deposition on those topics?
16· · · · A.· · Well, I mean, I can't remember way
17· ·back because I think I prepared to actually
18· ·start this depo a second time before today.
19· ·But generally speaking, again, I spoke with
20· ·counsel and reviewed the documents that are in
21· ·production in this matter.· Most specifically
22· ·the documents produced by Experian and those
23· ·pertaining to the two named plaintiffs.· And
24· ·then I also reviewed Experian's discovery
25· ·responses.


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·2· · · · Q.· · Did you talk to any of the Experian
·3· ·employees in preparation for your deposition?
·4· · · · A.· · No, sir, I didn't.
·5· · · · Q.· · Did you talk to any representatives
·6· ·of the co-defendant in this case, HRRG, in
·7· ·preparation for your deposition?
·8· · · · A.· · No, sir.
·9· · · · Q.· · And in preparing for this
10· ·deposition, you are generally aware of the
11· ·nature of this case that you are testifying in
12· ·today?
13· · · · A.· · Yes.
14· · · · Q.· · Can you describe for me your general
15· ·understanding of the crux of the allegations
16· ·plaintiffs are making against Experian in this
17· ·case?
18· · · · · · · MR. TAYLOR:· Object to the form.
19· · · · A.· · Yes.· Generally it is my
20· ·understanding that plaintiffs allege that
21· ·Experian was inaccurately reporting a date of
22· ·status and a first reported date on collection
23· ·accounts reported by a co-defendant in this
24· ·matter.
25· · · · Q.· · And who is that co-defendant?


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · A.· · HRRG.
·3· · · · Q.· · And that co-defendant is formally
·4· ·referred to as Healthcare Revenue Recovery
·5· ·Group, LLC d/b/a ARS, Account Resolution
·6· ·Services.· I'm going to refer to them today as
·7· ·HRRG or ARS, okay?
·8· · · · A.· · Okay.
·9· · · · Q.· · Do you know anything about the
10· ·business that that company is involved in?
11· · · · A.· · Not beyond the fact that they're a
12· ·collection agency that reports data to us.
13· · · · Q.· · Okay.· So you understand they're a
14· ·debt collector and the accounts at issue in
15· ·this case are those collection accounts; right?
16· · · · A.· · Yes, sir.
17· · · · Q.· · Have you ever been deposed in
18· ·another case involving HRRG?
19· · · · A.· · I don't have a specific recollection
20· ·of that, but it is certainly possible.
21· · · · Q.· · Okay.· But as you sit here today,
22· ·you don't have a recollection of being deposed
23· ·in another matter, another case involving HRRG?
24· · · · A.· · That's correct.
25· · · · Q.· · Ms. Cave, do you understand that


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·Experian provided written responses to certain
·3· ·interrogatories that were propounded by the
·4· ·plaintiffs in this case; right?
·5· · · · A.· · Yes, I do.
·6· · · · Q.· · And you verified the accuracy of
·7· ·some of those responses; right?
·8· · · · A.· · That's correct.
·9· · · · Q.· · Okay.· I would like to draw your
10· ·attention to Exhibit 10, which is a document
11· ·entitled Defendant Experian Information
12· ·Solution, Inc.'s Objections and Responses to
13· ·Plaintiff's Second Set of Interrogatories.
14· · · · · · · (Exhibit 10 marked.)
15· · · · Q.· · I will display it on the screen
16· ·while you are looking for that.
17· · · · · · · Ms. Cave, have you found that
18· ·document?
19· · · · A.· · I don't know what you guys are
20· ·seeing, but just so you know I'm not seeing a
21· ·document on the screen, but I don't know that
22· ·that is important as long as I'm able to find
23· ·the ones that you sent me.· I just wanted to
24· ·let you know.
25· · · · Q.· · Fair enough.· I understand.· Your


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·counsel can raise any objection if he thinks
·3· ·you and I are on two different documents.· But
·4· ·for the record I've got a displayed document
·5· ·and marked it here.· I've displayed and marked
·6· ·a document entitled Defendant Experian
·7· ·Information Solution, Inc.'s, Objections and
·8· ·Responses to Plaintiff's Second Set of
·9· ·Interrogatories.
10· · · · · · · Are you looking at that document
11· ·now?
12· · · · A.· · Yes.
13· · · · · · · MR. KOHLMYER:· Roland, it flashed
14· · · · for a second and I'm not seeing any
15· · · · documents attached either.
16· · · · · · · MR. TELLIS:· I'm sorry, who is that
17· · · · speaking?
18· · · · · · · MR. KOHLMYER:· Skip Kohlmyer.· It
19· · · · flashed for a second and disappeared.
20· · · · · · · MR. TELLIS:· Okay, Skip.· I only
21· · · · have Ms. Cave -- I only have Ms. Cave's
22· · · · video up so I can't tell.· I tried to
23· · · · submit it again.· Do you see it?· I'm now
24· · · · flipping through the pages, do you see it
25· · · · on the screen?


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · · · · MR. KOHLMYER:· Roland, I don't see
·3· · · · it but your deponent may.
·4· · · · · · · MR. TAYLOR:· If you go to the
·5· · · · exhibit icon and then you scroll down to
·6· · · · submitted files I think that is how Roland
·7· · · · submitted it and then you can just double
·8· · · · click it.
·9· · · · · · · MR. TELLIS:· That's right.· I'm
10· · · · sorry, Skip, if you go up on the top icon
11· · · · on the green bar you find the exhibit bar
12· · · · there will be a down arrow and there will
13· · · · be a down arrow when I click a file, that
14· · · · is where it goes.
15· · · · · · · MR. KOHLMYER:· Sorry about that,
16· · · · sorry.· They flashed for a second and then
17· · · · they disappeared.
18· · · · · · · MR. TELLIS:· I think they flash and
19· · · · then they go into that file so you will
20· · · · have to dig them out of there.
21· · · · · · · Can we proceed?
22· · · · · · · MR. TAYLOR:· Yes.
23· · · · Q.· · Ms. Cave, did you participate in the
24· ·preparation of these interrogatory responses
25· ·that I've marked as Exhibit 10?


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · A.· · Yes.
·3· · · · Q.· · And if you go to the last page,
·4· ·there is a document entitled verification which
·5· ·has your signature on it; is that correct?
·6· · · · A.· · That's correct.
·7· · · · Q.· · And by signing this document, you
·8· ·declared under penalty of perjury that these
·9· ·responses were accurate; is that correct?
10· · · · A.· · Based on the information available
11· ·to me, yes.
12· · · · Q.· · Did you speak with any Experian
13· ·employees in connection with your preparation
14· ·or verification of this document?
15· · · · A.· · Well, technically we have in-house
16· ·counsel so that is technically an employee, but
17· ·beyond that, no.
18· · · · Q.· · So other than someone who was in the
19· ·role of a lawyer's position you didn't talk to
20· ·any Experian employees in connection with the
21· ·verification or preparation of this document;
22· ·is that right?
23· · · · A.· · Looking at it I don't believe so.
24· ·If we get into substance and I find something
25· ·that I believe that to be different, I will let


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·you know.
·3· · · · Q.· · Okay.· Other than the document
·4· ·itself that is identified as Exhibit 10, did
·5· ·you review any documents to assist you in
·6· ·verifying the accuracy of this document?
·7· · · · A.· · I don't have a specific recollection
·8· ·of what I did when I did this verification, but
·9· ·you know, due to the substance I would almost
10· ·likely have been looking at the documents
11· ·pertinent to the subject matter of this case.
12· · · · Q.· · Do you recall reviewing any of those
13· ·such documents in connection with your
14· ·verification or preparation of this document?
15· · · · A.· · Again, I don't have a specific
16· ·recollection from that day, but it is very
17· ·common practice for me to do that.
18· · · · Q.· · Okay.· And those would be among the
19· ·documents that you identified earlier today as
20· ·having reviewed in preparation for your
21· ·deposition?
22· · · · A.· · Yes, sir.
23· · · · Q.· · Did you consult any databases to
24· ·assist you in verifying the accuracy of the
25· ·content of this document?


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·2· · · · · · · MR. TAYLOR:· Object to the form.
·3· · · · A.· · I don't believe so.
·4· · · · Q.· · I would like to focus your attention
·5· ·on the response to Interrogatory Number 16,
·6· ·which starts on the next page.· Well, these
·7· ·aren't page numbered, but I'm focused on the
·8· ·paragraph that appears right above the title
·9· ·heading, Interrogatory Number 17.· It starts
10· ·with the words, subject to and without waiving
11· ·its objections Experian states.
12· · · · · · · Let me know when you get there?
13· · · · A.· · Yes, sir, I think I'm there.
14· · · · Q.· · Take a moment, please and read that
15· ·paragraph to yourself and I will ask you some
16· ·questions about it.
17· · · · A.· · (Reviewing document.)· Okay.
18· · · · Q.· · This document, I mean, this
19· ·paragraph has a couple of sentences in it but I
20· ·want to start with the part that says, With
21· ·respect to ARS account numbers, and then there
22· ·are three of them listed there.
23· · · · · · ·
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·7· · · · Q.· · Do you know that person's name?
·8· · · · A.· · I believe at the time that was Lila
·9· ·Mumolo.
10· · · · Q.· · Could you spell that for me, please?
11· · · · A.· · First and last?
12· · · · Q.· · Lila I got, the last name, please?
13· · · · A.· · I believe that is M-u-m-o-l-o.
14· · · · Q.· · Is Ms. Mumolo -- if I said that
15· ·right, Mumolo; is that right?
16· · · · A.· · Mumolo.
17· · · · Q.· · Mumolo, I have got a California
18· ·problem, okay, Mumolo.· Does Ms. Mumolo -- is
19· ·Ms. Mumolo still employed by Experian?
20· · · · A.· · No, sir, she was fortunately able to
21· ·retire in the not so distant past.
22· · · · Q.· · Good for her.· When did she retire,
23· ·do you know?
24· · · · A.· · I believe, again, this is calling on
25· ·my personal knowledge, I think it was sometime
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·2· ·in late 2018 or early 2019.
·3· · · · Q.· · When she was employed by Experian,
·4· ·where did she perform her duties physically,
·5· ·what city?
·6· · · · · · · MR. TAYLOR:· Object to the form.
·7· · · · A.· · I believe Ms. Mumolo was out of the
·8· ·Costa Mesa, California office.· Again, that is
·9· ·my personal knowledge.· I didn't prepare for
10· ·that today.
11· · · · Q.· · Understood.· When is the last time
12· ·you spoke with Ms. Mumolo, if ever?
13· · · · A.· · I don't know.
14· · · · Q.· · Am I correct you have not spoken to
15· ·Ms. Mumolo since January of 2017?
16· · · · A.· · No, I wouldn't say that.· I mean,
17· ·while Ms. Mumolo was employed with Experian, I
18· ·may have spoken to her on occasion if I had
19· ·questions about things pertaining to her, but I
20· ·can represent to you I have not spoken with her
21· ·about this case or this situation that we're
22· ·discussing today.
23· · · · Q.· · Understood.· Have you spoken to her
24· ·since her retirement from the company?
25· · · · A.· · No, sir.


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14· · · ·
15· ·
16· ·
17· ·
18· ·
19· ·
20· ·
21· · · ·
22· ·
23· · · ·
24· · · · Q.· · Ms. Mumolo sat within the -- I'm
25· ·sorry, can you remind me of the department that
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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·she is in?
·3· · · · A.· · She was in data management.
·4· ·Sometimes that is also referred to as data
·5· ·development, but they're one and the same.
·6· · · · Q.· · Is that department in Costa Mesa,
·7· ·California?
·8· · · · A.· · The people that I work with are out
·9· ·of Costa Mesa, but I can't tell you if they
10· ·have employees in other locations, I don't
11· ·know.
12· · · · Q.· · Okay.· Does that -- does that group
13· ·have a department head or a group head?
14· · · · A.· · Yes.
15· · · · Q.· · What is the name of that person?
16· · · · A.· · Well, my understanding is the person
17· ·that is over that department is Donna Smith.
18· · · · Q.· · Okay.· Do you know how long Ms.
19· ·Smith has been the department head?
20· · · · A.· · No, sir, I don't.
21· · · · Q.· · Do you interact with Ms. Smith
22· ·periodically?
23· · · · A.· · On occasion.
24· · · ·
25· ·
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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·
·3· · · ·
·4· · · · Q.· · Prior to this case, Ms. Cave, did
·5· ·Experian ever come to learn that consumers with
·6· ·ARS accounts were complaining about the
·7· ·accuracy of the data being reported?
·8· · · · · · · MR. TAYLOR:· Object to the form.
·9· · · ·
10· ·
11· ·
12· ·
13· ·
14· ·
15· ·
16· ·
17· · · · · · ·
18· ·
19· ·
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13· ·
14· ·
15· ·
16· ·
17· · · ·
18· ·
19·
20· · · ·
21· · · ·
22· · · · Q.· · When ARS learned about this -- I'm
23· ·sorry, go ahead?
24· · · · A.· · I was just going to ask when you get
25· ·to a good spot could we take a quick break?
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·2· · · · Q.· · Certainly, let's do that now.
·3· · · · A.· · Okay.
·4· · · · Q.· · 10 minutes, 5 minutes, something
·5· ·like that?
·6· · · · A.· · Yes, just short, please.
·7· · · · · · · MR. TELLIS:· Let's come back in 10
·8· · · · minutes.
·9· · · · · · · VIDEOGRAPHER:· We're going off the
10· · · · record at 11:03 a.m.
11· · · · · · · (Recess, 11:03 to 11:18 a.m.)
12· · · · · · · VIDEOGRAPHER:· We're back on the
13· · · · record at 11:18 a.m.
14· · · · Q.· · Welcome back, Ms. Cave.· To your
15· ·knowledge, was Ms. Mumolo specifically assigned
16· ·to the ARS account or was she one of many folks
17· ·in that department that handled the data coming
18· ·from ARS?
19· · · · A.· · I'm sorry, I don't know.
20· · · · Q.· · Okay.· Do you know who is currently
21· ·responsible for reviewing data that comes from
22· ·ARS?
23· · · · A.· · Other than saying it is, you know,
24· ·the person or persons who are assigned to
25· ·collections in the data management department,


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·2· ·I don't have any -- any names for you.· I don't
·3· ·know who is doing that.
·4· · · · Q.· · Okay.· If you wanted -- if you were
·5· ·back at the office and you wanted to know who
·6· ·today is involved in reviewing the accuracy or
·7· ·the data that comes from the ARS, how would you
·8· ·go about finding out?
·9· · · · · · · MR. TAYLOR:· Object to the form.
10· · · · A.· · I would just make an inquiry to the
11· ·department on who handles collections and then
12· ·ask those questions.
13· · · · Q.· · Okay.· And that is the department in
14· ·Costa Mesa?
15· · · · A.· · Yes.
16· · · ·
17· ·
18· ·
19· · · · · · ·
20· · · ·
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16· ·
17· · · · · · ·
18· · · ·
19· ·
20· · · · Q.· · Experian has its own credit score
21· ·model; right, aside from FICO?
22· · · · A.· · Well, I don't know if it is Experian
23· ·Information Solutions, Inc., but there is an
24· ·Experian-owned company that does credit
25· ·scoring.
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·2· · · · Q.· · What is that company called?
·3· · · · A.· · The Basis of Score, LLC.
·4· · · · Q.· · Aside from the named plaintiffs in
·5· ·this case, has Experian received disputes from
·6· ·other consumers regarding the accuracy of their
·7· ·ARS accounts?
·8· · · · · · · MR. TAYLOR:· Object to the form.
·9· · · · · · · MS. DYLESKI:· Join.
10· · · · A.· · I didn't specifically look into
11· ·that.
12· · · ·
13· ·
14· · · ·
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10· · · ·
11· ·
12· ·
13· · · · · · ·
14· · · ·
15· · · · Q.· · Now, you mentioned Ms. Mumolo
16· ·retired in 2019 I think you said; is that
17· ·right?
18· · · · A.· · I said that, but it was to the best
19· ·of my personal knowledge.· I don't know
20· ·precisely when she retired.
21· · · · Q.· · Did Experian have layoffs in that
22· ·dispute investigation department in 2018?
23· · · · · · · MR. TAYLOR:· Object to the form.
24· · · · A.· · Are we talking about -- I don't know
25· ·when Experian had layoffs, but I don't know
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·2· ·which department.· If you mean Ms. Mumolo, she
·3· ·didn't work with the investigation department.
·4· · · · Q.· · What was her department called?
·5· · · · A.· · She worked for data management or
·6· ·data development.
·7· · · · Q.· · Did Experian have any layoffs in the
·8· ·dispute resolution department or the department
·9· ·that conducts the dispute investigations in
10· ·2018?
11· · · · · · · MR. TAYLOR:· Object to the form.
12· · · · A.· · I don't know.
13· · · ·
14· ·
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10· · · ·
11· ·
12· ·
13· ·
14· · · · · · ·
15· · · ·
16· · · · Q.· · I would like to now draw your
17· ·attention, please, to Exhibit 8, which is
18· ·entitled Defendant Experian Information
19· ·Solutions Second Supplemental Objections and
20· ·Responses to Plaintiff's Interrogatories 1, 4
21· ·and 5.· Let me try to pull that up on the
22· ·screen.
23· · · · · · · (Exhibit 8 marked.)
24· · · · · · · MR. TELLIS:· Mary Grace and others,
25· · · · you weren't here for this discussion.· If
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·2· · · · you need to find this document, you will
·3· · · · have to get it out of the submitted
·4· · · · exhibits tab.
·5· · · · · · · MS. DYLESKI:· I got it, thank you.
·6· · · · It is okay, I have got it.
·7· · · · Q.· · Okay.· Ms. Cave, did you find -- did
·8· ·you locate that document?
·9· · · · A.· · I think so, sir.· It is -- you said
10· ·specifically it was 1, 4 and 5?
11· · · · Q.· · Yes, ma'am.· It is a document that
12· ·is entitled Second Supplemental Objections and
13· ·Responses to Plaintiff's Interrogatories 1, 4
14· ·and 5.· That is what it says in the title.
15· · · · A.· · Yes, sir.· I do believe I have that.
16· ·If it helps I seem to have it marked as Exhibit
17· ·8.
18· · · · Q.· · That is the one, thank you.· Did you
19· ·play -- I notice in this particular document
20· ·the verification signed again by Ms. Finneran.
21· ·Do you see that?
22· · · · A.· · Yes, sir, I do.
23· · · · Q.· · Did you play any part in the
24· ·preparation of Exhibit 8?
25· · · · · · · MR. TAYLOR:· Object to the form.


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·2· · · · A.· · I just need a moment to look at it.
·3· · · · Q.· · Of course, sure.
·4· · · · A.· · (Reviewing document.)· No, sir, I
·5· ·didn't.
·6· · · · Q.· · Okay.· But you understand that
·7· ·you're here to testify about this document.· My
·8· ·understanding, Mr. Taylor can correct me if I'm
·9· ·wrong, is that Ms. Finneran testified as to the
10· ·method of computation of information that is in
11· ·here, but that was the extent of what she was
12· ·permitted to testify about.
13· · · · · · · MR. TELLIS:· Is that right,
14· · · · Mr. Taylor?
15· · · · · · · MR. TAYLOR:· Roland, if you look at
16· · · · our objections I believe it is topic 39, we
17· · · · stated that, you know, Ms. Finneran was
18· · · · designated to provide testimony regarding
19· · · · these particular interrogatory --
20· · · · interrogatory responses 1, 4 and 5.· And
21· · · · that Ms. Cave would be designated to
22· · · · testify regarding the remainder of the
23· · · · responses.· So she was designated to
24· · · · testify about 1, 4 and 5 without
25· · · · limitation.


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·1· · · · · · · ·CAVE - 7/22/20
·2· · · · ·MR. TELLIS:· Who is the "she"?
·3· · · · ·MR. TAYLOR:· Ms. Finneran.
·4· · · · ·MR. TELLIS:· But Ms. Cave is
·5· ·designated, as I understand it from your
·6· ·responses, to testify about these as well;
·7· ·is that correct?
·8· · · · ·MR. TAYLOR:· No, that is not
·9· ·correct.· If you look at the designation,
10· ·again, under 39 that we served, Ms. Cave is
11· ·designated to testify about the remainder
12· ·of the discovery, the other responses to
13· ·plaintiff's discovery requests, so those
14· ·other than Experian's responses to
15· ·interrogatory responses 1, 4 and 5.
16· · · · ·MR. TELLIS:· So when you objected to
17· ·scope in Ms. Finneran's deposition with
18· ·respect to this document, what did you mean
19· ·by that?
20· · · · ·MR. TAYLOR:· Well, I will have to
21· ·take a look at that, but she was -- she was
22· ·examined about these responses and she
23· ·provided testimony regarding the responses.
24· ·She was not instructed to stop testimony in
25· ·any way with respect to our responses to


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · interrogatories 1, 4 and 5.
·3· · · · · · · MR. TELLIS:· Yes, I understand that,
·4· · · · but we're entitled to Experian's responses
·5· · · · and your objection to scope.· Let's see how
·6· · · · this goes and if we have to bring Ms.
·7· · · · Finneran back, we will.
·8· · · · Q.· · Ms. Cave, turn your attention,
·9· ·please, to the second to the last document page
10· ·before the signature line that has the, quote,
11· ·second supplemental response answer there to
12· ·interrogatory number 5?
13· · · · A.· · Yes.
14· · · · Q.· · It is the page that has some content
15· ·and then a lot of blank space below it.· Are
16· ·you with me?
17· · · · A.· · Yes.
18· · · ·
19· ·
20· ·
21· ·
22· ·
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·5· · · ·
·6· · · · Q.· · Did you speak to Ms. Finneran --
·7· ·have you spoken to Ms. Finneran in connection
·8· ·with this matter?
·9· · · · · · · MR. TAYLOR:· Object to the form.
10· · · · A.· · No.
11· · · ·
12· ·
13· ·
14· ·
15· · · · · · ·
16· · · ·
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·9· · · · · · ·
10· · · ·
11· · · · Q.· · If you don't mind can we take a
12· ·quick break?
13· · · · A.· · Sir, can you tell me how long?
14· · · · · · · VIDEOGRAPHER:· Off the record at
15· · · · 12:01 p.m.
16· · · · · · · (Recess, 12:01 to 12:14 p.m.)
17· · · · · · · VIDEOGRAPHER:· We're back on the
18· · · · record at 12:14 p.m.
19· · · · Q.· · Ms. Cave, if you wouldn't mind, take
20· ·out Exhibit 12, which is the credit report for
21· ·Omar Santos dated July 24th, 2017, Bates
22· ·numbered 190 through 205.
23· · · · · · · (Exhibit 12 marked.)
24· · · · A.· · I'm sorry, I was on mute, I have it.
25· · · · Q.· · Okay.· Let me just -- let me just
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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·submit it.· Give me one minute, please.
·3· · · · · · · Exhibit 12 has Mr. Santos' name, the
·4· ·date of July 24th, 2017 and a report number at
·5· ·the top right-hand corner; correct?
·6· · · · A.· · Yes, sir.
·7· · · · Q.· · And at the top it says, in response
·8· ·to your recent request we are pleased to send
·9· ·you this credit report; right?
10· · · · A.· · Yes, it does.
11· · · · Q.· · And this credit report was prepared
12· ·by Experian in the ordinary course of
13· ·Experian's business; right?
14· · · · A.· · Yes, sir.
15· · · ·
16· ·
17· ·
18· ·
19· · · ·
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·9· ·
10· ·
11· ·
12· ·
13· · · ·
14· ·
15· · · · · · ·
16· · · ·
17· · · · Q.· · So I want to first take you to page
18· ·3 of the document, which is Bates numbered 192.
19· ·And there is a payment history legend there
20· ·with some various boxes that correspond to
21· ·possible payment histories; right?
22· · · · A.· · Well, could you clarify for me if
23· ·you are looking at the actual payment history
24· ·section or if you are looking at the account
25· ·history section, because for payment history I
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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·only see one box.
·3· · · · Q.· · No.· Right now on page 3 at the top
·4· ·right-hand corner the legend -- the legend it
·5· ·says, payment history legend and there are
·6· ·various choices there; right?
·7· · · · A.· · Yes.
·8· · · · Q.· · One of them is C for collection;
·9· ·right?
10· · · · A.· · That's correct.
11· · · · Q.· · Now, go with me, please, to page 6.
12· ·And at the top of the page there is an account
13· ·associated with a company called Central
14· ·Financial Control.· Do you see that?
15· · · · A.· · Yes.
16· · · · Q.· · And this is a collection account;
17· ·right, is what it says under status on the
18· ·right-hand side?
19· · · · · · · MR. TAYLOR:· Object to the form.
20· · · · A.· · That is correct.
21· · · · Q.· · And under payment history, there is
22· ·some four years' worth of information there;
23· ·right?
24· · · · A.· · That's correct.
25· · · · Q.· · The first entry is in December of


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·2013 there is a C for collection; right?
·3· · · · A.· · That's correct.
·4· · · · Q.· · And then in the following years
·5· ·there is either a C or an ND; right?
·6· · · · A.· · That's correct.
·7· · · · Q.· · And what does ND stand for?
·8· · · · A.· · No data.
·9· · · ·
10· ·
11· · · ·
12· ·
13· ·
14· ·
15· · · ·
16· ·
17· ·
18· ·
19· · · · · · ·
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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · Q.· · And this account remains in
·3· ·collection for some period of time up through
·4· ·the date of this report which is July of 2017;
·5· ·right?
·6· · · · A.· · Correct.
·7· · · · Q.· · And under date of status on the
·8· ·second column from the left it says December
·9· ·2013 as date of status; right.
10· · · · A.· · It does.
11· · · · Q.· · Now, looking at this as a snapshot
12· ·under payment history, I can tell that this
13· ·account has been in collection for some four
14· ·years; right?
15· · · · · · · MR. TAYLOR:· Object to form.
16· · · · A.· · It has actually been in collection
17· ·since May of 2012 the date it was opened,
18· ·because this is a collection agency.
19· · · · Q.· · Understand.· But under payment
20· ·history, I have a first box of December 2013
21· ·and a last box of July 2017; right?
22· · · · A.· · Yes.· Those are the current month of
23· ·displayable data as of the date of this report.
24· · · · Q.· · And if I'm looking just under that
25· ·heading, payment history, I see this account


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·has been in collection for some four years;
·3· ·right?
·4· · · · · · · MR. TAYLOR:· Object to the form.
·5· · · · A.· · Well, you see that we're displaying
·6· ·the four years of account history, but again,
·7· ·this account has been in collections since its
·8· ·opened date.
·9· · · · Q.· · I understand that, just stay with
10· ·me.· If I'm looking at just the information
11· ·under payment history, I see a history of
12· ·collection activity dating back to December of
13· ·2013; right?
14· · · · · · · MR. TAYLOR:· Object to form.
15· · · · A.· · Yes, the first collection box is set
16· ·at December 2013.
17· · · ·
18· ·
19· ·
20· ·
21· ·
22· · · ·
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·4· · · ·
·5· · · ·
·6· · · · Q.· · Okay.· Let's take a look -- put that
·7· ·report aside for a moment.· Let's look at a
·8· ·document that your counsel provided last night
·9· ·or I think it was last night entitled credit
10· ·profile report.· Try to find it here.
11· · · · · · · Do you have that document, Ms. Cave?
12· ·It is a document entitled credit profile report
13· ·Bates number 2903 through 2910?
14· · · · A.· · Not if it wasn't in the exhibits
15· ·provided to me, I don't.
16· · · · · · · MR. TELLIS:· Mr. Taylor, did you
17· · · · give her a copy of the document you
18· · · · produced?· You said she might be referring
19· · · · to it today.
20· · · · · · · MR. TAYLOR:· I don't believe she has
21· · · · a hard copy of it, but if you can upload
22· · · · it.
23· · · · · · · MR. TELLIS:· I've displayed it.
24· · · · · · · MR. TAYLOR:· Okay.
25· · · · A.· · I haven't been able to --
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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · · · · MR. TELLIS:· Mr. Taylor, can you
·3· · · · email it to her?
·4· · · · · · · MR. TAYLOR:· Ms. Cave, are you able
·5· · · · to view emailed files?
·6· · · · A.· · I guess, I mean I can pull up my
·7· ·email on the screen it is just going to hide
·8· ·everything.
·9· · · · Q.· · Were you not intending to refer to
10· ·this document today?
11· · · · A.· · Sir, I don't show up to a deposition
12· ·with anything.· I wait for the exhibits to be
13· ·provided to me.· I don't assume anything, it is
14· ·your depo.
15· · · · Q.· · So when your counsel said you may be
16· ·referring to this today, I was supposed to know
17· ·that that meant you may not?
18· · · · A.· · I don't know what you are supposed
19· ·to know.
20· · · · · · · MR. TAYLOR:· What we did is we
21· · · · produced that document.· And for ease of
22· · · · reference she may be referring to it based
23· · · · on certain questions.· Plaintiffs did not
24· · · · provide that as an exhibit.· We're going to
25· · · · try to get her the document now.


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·1· · · · · · · · · · CAVE - 7/22/20
·2· · · · · · · MR. TELLIS:· How are we going to
·3· · · · refer to it as an exhibit if you only gave
·4· · · · it to us last night?
·5· · · · · · · MR. TAYLOR:· For the record, I think
·6· · · · we produced it on Monday.· And it was
·7· · · · produced in an attempt to help facilitate
·8· · · · certain questions.· And it was not included
·9· · · · in the exhibit list, but again, we are
10· · · · going to email it and see if she can view
11· · · · it.
12· · · · · · · MR. TELLIS:· Great.
13· · · · · · · MR. MANN:· Can you see it now?· I'm
14· · · · showing it running.
15· · · · · · · MR. TAYLOR:· Yes, you can see that
16· · · · on the screen.
17· · · · A.· · I can.
18· · · · · · · MR. MANN:· I gave you control of the
19· · · · document.· You should be able to control
20· · · · the pages.
21· · · · Q.· · Did Ms. Cave say she can or can't?
22· · · · A.· · I can.
23· · · · Q.· · Okay.· Good.· I am going to blow it
24· ·up here so that maybe that helps a little bit.
25· · · · A.· · I think I can, too.· Let me see if I


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·1· · · · · · · · · · CAVE - 7/22/20
·2· ·can.
·3· · · · Q.· · I think I gave you -- yes, okay.
·4· · · · A.· · Can someone tell me how to make that
·5· ·box larger?· Is it a drive box?
·6· · · · Q.· · You might have to drag the other
·7· ·boxes smaller.· Well, you will figure it out.
·8· · · · · · · MR. MANN:· I just gave you access to
·9· · · · the document, too, so you should be able to
10· · · · navigate through it.
11· · · · A.· · I'm just trying to scoot it over so
12· ·I can make it bigger.
13· · · · · · · MR. MANN:· This is Jonathan Mann
14· · · · talking.
15· · · · A.· · My screen got bigger, the document
16· ·didn't.· Go ahead and I will do my best.
17· · · ·
18· ·
19· ·
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·2· · · · · · ·
·3· · · ·
·4· · · · Q.· · Have you ever looked at Experian's
·5· ·website?
·6· · · · A.· · I mean, that is a pretty vague
·7· ·question.· I mean, Experian Information
·8· ·Solutions, I do often look on their consumer
·9· ·site to move around like someone who is
10· ·processing disputes.· But Experian has other
11· ·sister corporations like Experian Consumer
12· ·Services that offer consumers direct products
13· ·and services and I don't really get on those.
14· · · · Q.· · Well, you understand that on the
15· ·website Experian.com there are resources that
16· ·are available that provide advice and
17· ·information to consumers and third-parties
18· ·about how to read and interpret credit reports
19· ·and so forth?
20· · · · · · · MR. TAYLOR:· Object to the form.
21· · · · A.· · Yes.· Within the dispute center
22· ·those are ones that are coming from Experian
23· ·Information Solutions, but again, there are --
24· ·Experian.com also houses Experian Consumer
25· ·Services which is direct-to-consumer products,
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·2· ·and they do have also literature about credit
·3· ·reporting.
·4· · · · Q.· · That literature is sometimes in the
·5· ·form of a blog written by someone on Experian's
·6· ·behalf; right?
·7· · · · · · · MR. TAYLOR:· Object to the form.
·8· · · · A.· · That is my understanding.
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11· ·
12· ·
13· ·
14· ·
15· · · · Q.· · What department is responsible for
16· ·doing that vetting?
17· · · · A.· · Credentialing.
18· · · · Q.· · And is there a head of that
19· ·department or a manager?
20· · · · A.· · Yes.
21· · · · Q.· · What is that person's name, please?
22· · · · A.· · Peter Henke.
23· · · · Q.· · When Mr. Henke is typically at work,
24· ·what city does he perform his duties in?
25· · · · A.· · I don't know.
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·2· · · · Q.· · He is not in Allen, Texas?
·3· · · · A.· · No, he isn't.
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·5· ·
·6· ·
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·8· · · · · · ·
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·2· ·
·3· ·
·4· ·
·5· · · · Q.· · So here you said it was a status
·6· ·dispute meaning they were disputing the date of
·7· ·status?
·8· · · · · · · MR. TAYLOR:· Object to the form.
·9· · · · · · · MS. DYLESKI:· Join.
10· · · · A.· · Well, my understanding is not that
11· ·the dispute was the date of status.· I believe
12· ·the dispute said that the account was re-aged,
13· ·which is not disputing the date of status,
14· ·but --
15· · · · Q.· · I see.
16· · · · A.· · -- a dispute such as that concerning
17· ·the status of the account are considered status
18· ·disputes.
19· · · ·
20· ·
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11· ·
12· ·
13· ·
14· · · · Q.· · Let's go off the record for five
15· ·minutes.· I may be coming to the end of my line
16· ·of questions.· Let's go off the record, please.
17· · · · · · · VIDEOGRAPHER:· The time is 1:09 p.m.
18· · · · · · · (Recess, 1:09 to 1:18 p.m.)
19· · · · · · · VIDEOGRAPHER:· We're back on the
20· · · · record at 1:18 p.m.
21· · · · Q.· · Ms. Cave, I have just a couple of
22· ·follow-up questions.· You testified at the
23· ·outset that you have provided deposition
24· ·testimony many times; right?
25· · · · A.· · Yes, sir.
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                                                                           Page 133
·1· · · · · · · · · · CAVE - 7/22/20
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·1· · · · · · · · · · CAVE - 7/22/20
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10· · · · Q.· · Well, thank you for your time, Ms.
11· ·Cave.· Those are the questions I have for now,
12· ·subject to our meet and confer that I intend to
13· ·have with your counsel.
14· · · · A.· · Okay, thank you.
15· · · · · · · MR. TELLIS:· Pass the witness.
16· · · · · · · MS. DYLESKI:· No questions.
17· · · · · · · MR. TAYLOR:· No questions from
18· · · · Experian.· We would request read and sign
19· · · · and also request under the stipulated
20· · · · protective order that the entirety of the
21· · · · deposition transcript be treated as
22· · · · confidential pending the opportunity to
23· · · · review for more specific confidentiality
24· · · · designations.
25· · · · · · · MR. TELLIS:· I heard the request and
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                                       138
                                                                            Page 135
·1· · · · · · · ·CAVE - 7/22/20
·2· ·I intend to abide by it.· I don't agree
·3· ·that it needs to be, but I intend to -- I
·4· ·will accept your request.
·5· · · · ·MR. TAYLOR:· Thank you.
·6· · · · ·MR. TELLIS:· Thank you everyone.
·7· · · · ·VIDEOGRAPHER:· This marks the end of
·8· ·the deposition.· We're going off record at
·9· ·1:20 p.m.
10· · · · ·(Deposition adjourned at 1:20 p.m.)
11
12· · · · · · · · · · _________________________
13· · · · · · · · · · KIMBERLY CAVE
14
15· · · · ·Subscribed and sworn to before me
16· · · · ·this _____ day of _________________, 2020.
17
18· · · · ·_________________________________
19· · · · ·Notary Public
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                                                                            Page 136
·1· · · · · · · ·CAVE - 7/22/20
·2· · · · ·C E R T I F I C A T E
·3
·4· · · · ·I, SUSAN S. KLINGER, a certified
·5· ·shorthand reporter within and for the State
·6· ·of Texas, do hereby certify:
·7· · · · ·That KIMBERLY CAVE, the witness
·8· ·whose deposition is hereinbefore set forth,
·9· ·was duly sworn by me and that such
10· ·deposition is a true record of the
11· ·testimony given by such witness.
12· · · · ·I further certify that I am not
13· ·related to any of the parties to this
14· ·action by blood or marriage; and that I am
15· ·in no way interested in the outcome of this
16· ·matter.
17· · · · ·IN WITNESS WHEREOF, I have hereunto
18· ·set my hand this 1st of August, 2020.
19
20· · · · · · · ·_________________________
21· · · · · · · ·Susan S. Klinger, RMR-CRR, CSR
22· · · · · · · ·Texas CSR# 6531
23
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25


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·1· · · · · · · · · · · ·CAVE - 7/22/20
· · ·NAME OF CASE:
·2· ·DATE OF DEPOSITION:
·3· ·NAME OF WITNESS:
·4· ·Reason Codes:
·5· · · · 1.· To clarify the record.
·6· · · · 2.· To conform to the facts.
·7· · · · 3.· To correct transcription errors.
·8· ·Page ______ Line ______ Reason ______
·9· ·From _____________________ to _____________________
10· ·Page ______ Line ______ Reason ______
11· ·From _____________________ to _____________________
12· ·Page ______ Line ______ Reason ______
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14· ·Page ______ Line ______ Reason ______
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